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CeFaan Kim reports from Flushing.

 

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Thursday, January 07, 2016 MORE NEWS

NEW YORK (WABC) -- Five correction officers
are in the hospital after allegedly getting beaten

by teenage inmates at Rikers Island. TOP STORIES

The young attackers are housed in a new unit

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for what's called "uncontrollable inmates."
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This started with two teenage inmates

attacking two correction officers around 5 p.m.

Wednesday.

As additional officers jumped in to control the
situation, several other inmates, Eyewitness
News is told, joined in and began attacking
those officers.

The situation quickly escalated and got out of
control.

Chemical spray had to be used, at one point an
inmate stomped on an officer, and one officer
had their hand slammed between a heavy gate.

1 officer has a fractured nose and suffered cuts

above his eye.

Another has bumps and bruises all over his face.

A third had the top bone of his foot crushed.

And a fourth, suffered hand injuries from the
heavy gate slam. The extent of her injuries is
still unknown.

A fifth officer is being treated for exposure to
chemical agents that were used when trying to

control this assault. '

The 16 and 17-year-old inmates allegedly

involved are in a unit called "Transitional Repair

Unit", or TRU.

It's for youth inmates, under age 21, who used
to be in administrative segregation, but the
mayor said the policy is not humane, that

"punitive segregation" wasn't working, and that

it was making people more violent.

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= mayor says

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heaa of the corrections officers union warned
of anew policy that just went into effect this
year would be a recipe for disaster, the union
boss says the attack Wednesday has proved his
point.

 

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Union officials said they put their officers in
harm's way and are livid about this policy
change.

MORE VIDEO

"Until the mayor walks in the shoes of a New
York City correction officer that has his or her
eye socket busted out, then he will have a
difference of opinion. We're trying to do this to
protect not only correction officers but the
wellbeing of the other inmates that are
incarcerated in the city's jail system along with
the non-uniformed members of the
Department of Corrections. Everybody
deserves to be safe," said Normal Seabrook,
president of COBA.

Seabrook says he would like to see sentences
run concurrently for inmates who attack a
correction officer.

He says they should receive a minimum of 5-7
years attached to whatever sentence they are
serving.

In the last few years, the city had to pay millions
to Rikers inmates who were brutally beaten by
officers, which led to reform.

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